     Case 1:16-cv-03088-ELR    Document 118-2     Filed 10/14/21   Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )        CIVIL ACTION FILE
v.                                     )
                                       )        NO. 1:16-CV-03088-ELR
STATE OF GEORGIA,                      )
                                       )
      Defendant.                       )


                     AMENDED PROTECTIVE ORDER

      In order to protect records containing health information or other

personally identifiable information relating to students with disabilities who

are or may become involved in this action, the Court orders the Parties to

adhere to the following terms and conditions with regard to the use, treatment,

disclosure, and maintenance of Confidential Information as defined below.

      1.      “Confidential Information” is health information or other records

containing personally identifiable information relating to students with

disabilities who have received, currently receive, or will receive mental health

and therapeutic educational services in the State of Georgia, regardless of the

person, entity, Party, or non-party from whom a Party obtains the information.
    Case 1:16-cv-03088-ELR     Document 118-2     Filed 10/14/21   Page 2 of 8




Confidential Information includes:

            a.    Full names and names of relatives, household members, and

                  minor children;

            b.    Home addresses, telephone numbers, fax numbers, email

                  addresses, IP addresses, and device numbers or serial codes;

            c.    Social Security Numbers;

            d.    Birthdates (other than the year of birth);

            e.    Photographs, electronic, or other visual images of the

                  individuals’ faces;

            f.    Health plan beneficiary numbers and biometric identifiers;

            g.    Medical records, treatment and diagnosis;

            h.    Drivers license numbers, vehicle identification numbers, and

                  license plate numbers;

            i.    Employment records, certificate or license numbers, financial

                  records, and account numbers;

            j.    Educational records; and

            k.    Any other personally identifiable information not listed

                  above that is protected by the Family Educational Rights and


                                        -2-
    Case 1:16-cv-03088-ELR     Document 118-2     Filed 10/14/21   Page 3 of 8




                  Privacy Act (“FERPA”), 20 U.S.C. § 1232g.

      2.     All documents, tangible things, and electronically-stored

information (“ESI”), including any portions of deposition testimony or other

testimony by a witness, that contain Confidential Information shall be treated

and maintained in a manner that prevents access by any person or entity not

entitled to access under this Protective Order. Confidential Information may be

disclosed only to the following persons:

            a.    Counsel of the Parties, including staff who are engaged in

                  assisting counsel in this action;

            b.    Any independent outside expert, consultant, or investigator,

                  and employees and assistants under the control of such

                  expert, consultant, or investigator, who is employed or

                  engaged by Counsel in this litigation, whether or not such

                  individual is paid directly by the Party;

            c.    Any employee of a Party who is requested by Counsel for

                  such Party to work directly on the above-entitled action;

            d.    Any deposition or trial witness;

            e.    Any person who authored or originally received the protected



                                       -3-
    Case 1:16-cv-03088-ELR     Document 118-2    Filed 10/14/21   Page 4 of 8




                  documents, tangible things, or ESI that contain Confidential

                  Information sought to be disclosed to that person;

            f.    Any court reporter or typist recording or transcribing

                  testimony; and

            g.    Any person designated by the Court in the interests of

                  justice, upon such terms as the Court deems proper.

      3.     Subject to the Federal Rules of Evidence and this

Protective Order, the Parties shall produce Confidential Information in

an unredacted form to another Party in this lawsuit in response to a

discovery request. To designate documents, tangible things, or ESI

containing Confidential Information covered by this Protective

Order, the producing party shall include, on the material itself, in an

accompanying cover letter, or on a compact disk cover, the following

designation: “CONFIDENTIAL INFORMATION - SUBJECT TO

PROTECTIVE ORDER.” With regard to testimony, a party may

designate portions of the record confidential by notifying the other

party on the record at the deposition or in writing thereafter.

However, the failure to designate Confidential Information as


                                       -4-
     Case 1:16-cv-03088-ELR     Document 118-2     Filed 10/14/21   Page 5 of 8




provided in this paragraph shall not constitute a waiver of the assertion that

the Information is covered by this Protective Order.

      4.      Prior to producing any records (documents in any form) that

contain personally identifiable information protected by FERPA, Defendant

will comply with 34 C.F.R. § 99 .31 and any other statute or regulation that at

the time of production is applicable to education records (“applicable law”).

Plaintiff must provide Defendant reasonable time to comply with applicable

law prior to production. The Parties will in good faith cooperate regarding

what constitutes a “reasonable time,” considering the nature, volume, location,

and other factors affecting record production.

      5.    All parties receiving documents, tangible things, or ESI with

Confidential Information may use such designated documents, tangible things,

or ESI only for purposes of the above-captioned litigation and may disclose

them to non-parties to this litigation only as specified within this Order.

      6.      The Parties may not use or disclose Confidential Information in a

pleading, filing, hearing, trial, or other proceeding in this action without either

redacting or otherwise obscuring the Confidential Information, or filing an

application with the Court requesting that the documents, tangible things, or



                                        -5-
     Case 1:16-cv-03088-ELR      Document 118-2    Filed 10/14/21     Page 6 of 8




ESI containing Confidential Information be filed under seal, pursuant to the

“Instructions for Cases Assigned to the Honorable Eleanor L. Ross,” or

obtaining consent from the individual (or individual's legal guardian) whose

Confidential Information is at issue. In place of an individual’s name, the

Parties may substitute initials, a pseudonym, or other code.

      7.      Where the Confidential Information is an integral part of a

document, tangible thing, or ESI, and obscuring or destroying the

Confidential Information impairs the utility of the document, tangible

thing, or ESI, the Parties shall file an application with the Court

requesting that the document, tangible thing, or ESI be filed under seal,

pursuant to the “Instructions for Cases Assigned to the Honorable Eleanor

L. Ross,” or obtain written consent to file without redaction from the

individual (or individual’s legal guardian) whose Confidential

Information will be disclosed.

      8.      No Confidential Information obtained during the course of

this litigation or included in any court document or proceeding shall be

further disclosed by any Party or third party, unless the Court orders

otherwise.



                                        -6-
     Case 1:16-cv-03088-ELR    Document 118-2     Filed 10/14/21   Page 7 of 8




      9.     Nothing in this Protective Order shall prohibit counsel for the

United States or other Department of Justice officials from disclosing

Confidential Information to other United States government officials, or their

agents, as necessary to carry out law enforcement responsibilities.

      10.    In the event of a request pursuant to the Freedom of Information

Act (“FOIA”), 5 U.S.C. § 552, or the Georgia Open Records Act (“GORA”),

O.C.G.A. § 50-18-70 et seq., for documents, tangible things, or ESI containing

Confidential Information from this action, the Court further intends that this

Protective Order will protect the records from access via FOIA and GORA

until such time as the Court issues a subsequent order permitting disclosure or

this matter is dismissed and there is no basis for any subsequent appeals in the

action.

      11.    Documents, tangible things, or ESI containing Confidential

Information shall not be disclosed to persons in paragraph 2.a-e until such

persons have been provided with a copy of this Protective Order. Confidential

Information provided pursuant to this Order shall not be used for purposes

unrelated to this action except as described in paragraph 9.

      12.    Any Party may apply for relief from, enforcement of, or

modification of this Order or for additional protective orders. The Parties may


                                       -7-
     Case 1:16-cv-03088-ELR     Document 118-2     Filed 10/14/21   Page 8 of 8




also mutually agree to seek modification of the Protective Order.

      13.     This Protective Order shall remain in full force and effect

until modified, superseded, or terminated by order of this Court, or

terminated by mutual consent of the Parties, without regard to the

conclusion of this litigation or any subsequent appeals. Documents

containing any Confidential Information in the possession of the Parties

or any person described in 2.a-d, including all copies, must be destroyed

when this litigation and all subsequent appeals conclude, pursuant to 45

C.F.R. § 164.512(e)(l)(v).



            AMENDED PROTECTIVE ORDER AGREEMENT

      I have read the Amended Protective Order issued by the United

States District Court for the Northern District of Georgia in United States

v. Georgia, 1:16-cv-03088-ELR. I understand the terms of the Order. I

agree to be fully bound by the terms of the Order, and I submit to the

jurisdiction of the United States District Court for the Northern District of

Georgia for purposes of enforcing the Order.

By: ______________________________                 Date: ______________

Printed Name: _____________________


                                        -8-
